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Ricardo Fermin Sune-Giron
8:24-cr-514-VMC-CPT
                                            UNITED STATES DISTRICT COURT
                                             MIDDLE DISTRICT OF FLORIDA
                                                   TAMPA DIVISION

UNITED STATES OF AMERICA                                           Case Number: 8:24-cr-514-VMC-CPT

v.                                                                 USM Number: 10564-511

RICARDO FERMIN SUNE-GIRON                                          Jose Rodriguez, Retained


                                            JUDGMENT IN A CRIMINAL CASE

Defendant pleaded guilty to Count One, Two, Three and, Four of the Information. Defendant is adjudicated
guilty of these offenses:
                                                                                  Date Offense         Count
     Title & Section                     Nature of Offense                        Concluded            Numbers
     18 U.S.C. §§ 933(a)(3)              Conspiracy to Traffic Firearms           On or about April    One
     and 933 (b)                                                                  2024
     18 U.S.C. §§ 933(a)(1)              Trafficking Firearms                     On or about April    Two
     and 933 (b)                                                                  2024
     18 U.S.C. §§ 922(a)(1)(A)           Dealing in Firearms Without a License    On or about April    Three
     and 924(a)(1)(D)                                                             2024
     18 U.S.C. §§ 922(g)(5)(A)           Possession of a Firearm by an Illegal    On or about April    Four
     and 924(a)(8)                       Alien                                    2024

Defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.


IT IS ORDERED that Defendant must notify the United States Attorney for this district within 30 days of
any change of name, residence, or mailing address until all fines, restitution, costs and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, Defendant shall notify the Court and
United States Attorney of any material change in Defendant’s economic circumstances.

                                                             Date of Imposition of Judgment:

                                                             March 11, 2025




                                                             March 12, 2025

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                                                     IMPRISONMENT

       Defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of ONE HUNDRED SIXTY-EIGHT (168) MONTHS. This term consists of a 168-
month term as to each of Counts One, Two, and Four, and a 60-month term as to Count Three, all such
terms to run concurrently.

         The Court makes the following recommendations to the Bureau of Prisons:

         •    Defendant be housed at FCI Coleman.

      The defendant is remanded to the custody of the United States Marshal to await designation by the
Bureau of Prisons.



                                                        RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to ______________________________________


at _________________________________________________, with a certified copy of this judgment.



                                                          UNITED STATES MARSHAL


                                                          By:
                                                          Deputy U.S. Marshal




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                                                    SUPERVISED RELEASE

       Upon release from imprisonment, Defendant will be on supervised release for a term of THREE (3)
YEARS. This term consists of a 3-year term as to each count, Counts One, Two, Three and Four, all
such terms to run concurrently.


                                                   MANDATORY CONDITIONS

1.       Defendant shall not commit another federal, state or local crime.
2.       Defendant shall not unlawfully possess a controlled substance.
3.       Defendant shall refrain from any unlawful use of a controlled substance. Defendant shall submit to
         one drug test within 15 days of release from imprisonment and at least two periodic drug tests
         thereafter, as determined by the court.
4.       Defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

      Defendant shall comply with the standard conditions that have been adopted by this court (set forth
below).

         Defendant shall also comply with the additional conditions on the attached page.




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                                     STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, Defendant shall comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for your behavior
while on supervision and identify the minimum tools needed by Probation Officers to keep informed, report
to the court about, and bring about improvements in your conduct and condition.

1.       Defendant shall report to the Probation Office in the federal judicial district where you are authorized
         to reside within 72 hours of your release from imprisonment, unless the Probation Officer instructs
         you to report to a different Probation Office or within a different time frame. After initially reporting
         to the Probation Office, Defendant will receive instructions from the court or the Probation Officer
         about how and when Defendant must report to the Probation Officer, and Defendant must report to
         the Probation Officer as instructed.
2.       After initially reporting to the Probation Office, you will receive instructions from the court or the
         Probation Officer about how and when Defendant shall report to the Probation Officer, and
         Defendant shall report to the Probation Officer as instructed.
3.       Defendant shall not knowingly leave the federal judicial district where you are authorized to reside
         without first getting permission from the court or the Probation Officer.
4.       Defendant shall answer truthfully the questions asked by your Probation Officer
5.       Defendant shall live at a place approved by the Probation Officer. If you plan to change where you
         live or anything about your living arrangements (such as the people you live with), Defendant shall
         notify the Probation Officer at least 10 days before the change. If notifying the Probation Officer in
         advance is not possible due to unanticipated circumstances, Defendant shall notify the Probation
         Officer within 72 hours of becoming aware of a change or expected change.
6.       Defendant shall allow the Probation Officer to visit you at any time at your home or elsewhere, and
         Defendant shall permit the Probation Officer to take any items prohibited by the conditions of your
         supervision that he or she observes in plain view.
7.       Defendant shall work full time (at least 30 hours per week) at a lawful type of employment, unless
         the Probation Officer excuses you from doing so. If you do not have full-time employment
         Defendant shall try to find full-time employment, unless the Probation Officer excuses you from
         doing so. If you plan to change where you work or anything about your work (such as your position
         or your job responsibilities), Defendant shall notify the Probation Officer at least 10 days before the
         change. If notifying the Probation Officer at least 10 days in advance is not possible due to
         unanticipated circumstances, Defendant shall notify the Probation Officer within 72 hours of
         becoming aware of a change or expected change.
8.       Defendant shall not communicate or interact with someone you know is engaged in criminal activity.
         If you know someone has been convicted of a felony, Defendant shall not knowingly communicate
         or interact with that person without first getting the permission of the Probation Officer.
9.       If you are arrested or questioned by a law enforcement officer, Defendant shall notify the Probation
         Officer within 72 hours.
10.      Defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or
         dangerous weapon (i.e., anything that was designed, or was modified for, the specific purpose of
         causing bodily injury or death to another person such as nunchakus or tasers).
11.      Defendant shall not act or make any agreement with a law enforcement agency to act as a
         confidential human source or informant without first getting the permission of the court.
12.      If the Probation Officer determines that you pose a risk to another person (including an organization),
         the Probation Officer may require you to notify the person about the risk and Defendant shall comply
         with that instruction. The Probation Officer may contact the person and confirm that you have
         notified the person about the risk.

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13.      Defendant shall follow the instructions of the Probation Officer related to the conditions of
         supervision.


U.S. Probation Office Use Only

A U.S. Probation Officer has instructed me on the conditions specified by the court and has provided me
with a written copy of this judgment containing these conditions. For further information regarding these
conditions, see Overview of Probation and Supervised Release Conditions, available at: www.uscourts.gov.


Defendant’s Signature:                                                       Date:




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                            ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

1.       Defendant shall submit to a search of your person, residence, place of business, any storage units
         under Defendant’s control, computer, or vehicle, conducted by the United States Probation Officer
         at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or
         evidence of a violation of a condition of release. Failure to submit to a search may be grounds for
         revocation. You shall inform any other residents that the premises may be subject to a search
         pursuant to this condition.

2.       Should Defendant be deported, he shall not re-enter the United States without the express
         permission of the appropriate governmental authority.

3.       Defendant shall cooperate in the collection of DNA, as directed by the Probation Officer.

4.       Defendant shall refrain from any unlawful use of controlled substances. Defendant shall submit to
         one drug test within 15 days of placement on supervision and at least two periodic drug tests
         thereafter as directed by the probation officer. Defendant shall submit to random drug testing not to
         exceed 104 tests per year.




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                                           CRIMINAL MONETARY PENALTIES

     Defendant must pay the following total criminal monetary penalties under the schedule of
payments set forth in the Schedule of Payments.

Assessment               Restitution                    Fine           AVAA Assessment             JVTA Assessment

 $400.00                      N/A                     WAIVED               N/A                      N/A



                                                   SCHEDULE OF PAYMENTS

Having assessed Defendant’s ability to pay, payment of the total criminal monetary penalties is due as
follows:

Special Assessment shall be paid in full and is due immediately.

Unless the Court has expressly ordered otherwise in the special instructions above, if this judgment imposes
a period of imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau
of Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the Court, unless otherwise
directed by the Court, the Probation Officer, or the United States attorney.

Defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution
interest, (4) AVAA assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA
assessment, and (9) penalties, and (10) costs, including cost of prosecution and court costs.


                                                        FORFEITURE

Defendant shall forfeit to the United States those assets that are subject to forfeiture as previously identified
in the Order of Forfeiture and any subsequent orders.




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